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                                      LTNITED STATES DISTRICT COURT
                                      SOUTHERN DISTzuCT OF INDIANA
                                           INDIANAPOLIS DTVISION




  LTNITED STATES OF AMERICA,                           )
                                                       )
                         Plaintiff,                    )
                                                       )
                                                       )
                                                       ) Cause No. l:16-cr-0251 TWP-MJD
  CHRISTIAN MORALES,                                   )                       -3
                                                       )
                        Defendant.                     )




                                                               UILTY
         The United States ofAmerica, by counsel, Josh J. Minkler, United States Attorney for the
                                                                                                    Southern

  District of Indiana, and, Michelle P. Brady, Assistant United states Attomey (.the Government,,), and the

  defendan! Christian Morales ("the defendant"), in person and by counsel, charles c. Hayes.
                                                                                                      hereby

  inform the Court that a Plea Agreement has been reached in this case pursuant to Federal Rule
                                                                                                  of Criminal
 Procedure I l(c)(l)@). The following are its terms and conditions;




                                       Part   Guiltv Plea and C

         1'     Plea ofGuilty: The defendant petitions the Court for leave to enter and agrees to enter
                                                                                                            a

 plea of guilty to the following offenses charged in the Third Superseding
                                                                                     Indictment (hereinafter,
 Indictment):

                a.      Count One, which charges that the defendant committed the offense of conspiring

 to possess with intent to distribute and to distribute 500 grams or more
                                                                            ofmethamphetamine, in violation
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 ofTirle21, United States Code, Sections 841 and 846. The offense is punishable by a maximum sentence

 of between ten years and life imprisonment, a $10,000,000 fine, and no less than five years' supervised

 release following any term of imprisonment. To sustain the offense to which the defendant is pleading

 guilty, the Government must prove the following elements beyond a reasonable doubt: (1) a conspiracy

 to possess with intent to distribute and to distribute methamphetamine existed; and (2) defendant

 knowingly joined that conspiracy.

                 b.     Count Twelve, which charges the defendant with conspiring to launder monetary

  instruments, in violation of Title 18, United States Code, Section 1956(a)(1)(A)(i) and 1956(h). The

 maximum penalties for this offense are up to twenty years imprisonment, a fine ofup to $500,000, and a

  period of supervised release of up to three years- The elements of this offense are: (1) a conspiracy to

  launder monetary instruments existed; and (2) defendant knowingly joined this conspiracy.




                                         Part 2: General Provisions

         2.      Sentencing Court's Discretion Within Statutory Range: The defendant agrees and

  understands that: (A) the Court will use its discretion to fashion a sentence within the statutory range(s)

  set forth above; (B) the Court will consider the factors set forth in l8 U.S.C. $ 3553(a) in determining the


  appropriate sentence within the statutory range(s); (C) the Court will also consult and take into account

  the United States Sentencing Guidelines ("Sentencing Guidelines" or "U.S.S.G.") in determining the

  appropriate sentence within the statutory range(s); (D) the Sentencing Guidelines are not mandatory or

  binding on the Court, but are advisory in nature; (E) restitution may be imposed; (F) by pleading "Guilty"

  to more than one offense (Count), the Court may order the sentences to be served consecutively one after

  another; (G) the final determination conceming the applicable advisory guideline calculation, criminal

  history category, and advisory sentencing guideline range will be made by the Court; and (H) by pleading



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  "Guilty," the court may impose rhe same punishment as if the defendant had pl€ad.Not
                                                                                                 Guilty,,, had
  stood trial and been convicted by ajury.

         3'      sentencing court Not Bound by Guidelines or Recommendations: The defendant

 acknowledges that this Plea Agreement is govemed by Federal Rule of Criminal procedure
                                                                                                  I 1(c)(l )(B)

 and that the determination ofthe defendant's sentence is within the discretion ofthe Court. The
                                                                                                    defendant

 understands that if the Court decides to impos€ a sentence higher or lower than any recommendation
                                                                                                            of
 either party, or determines a different advisory sentencing guideline range applies in this case, or decides

 to impose a sentence outside ofthe advisory sentencing guideline range for any reason, then the defendant

 will not be permitted to withdraw this plea ofguilty for that reason and will be bound by this plea ofguilty.

         4.     Plea Agreement Based on Information Presently Known: The defendant recognizes

 and understands that this Plea Agreement is based upon the information presently known to the

 Govemment. The Govemment agrees not to bring other federal charges against the defendant based on

 information currently known to the united states Attomey for the Southem District oflndiana.

        5.      The Govemment will inform the Court and the defendant at the time of taking the

 defendant's plea whether the Govemment has obtained any information after the Plea Agreement was

 signed that may warrant bringing other federal charges against the defendant.

        6.      No Protection From Prosecution for unknown or Subsequent offenses: The
 defendant acknowledges and agrees that nothing in this agreement shall protect the defendant
                                                                                                  in any way

 from prosecution for any offense not specifically covered by this agreement, or not known
                                                                                                to the United

 States Attomey for the Southem District of Indiana at this time. The defendant
                                                                                   further acknowledges and

 agrees that nothing in this agreement shall protect the defendant in
                                                                         any way from prosecution for any

 offense committed after the date of this agreement.




                                                       ,
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         7.      Rights Under Rule 11(b), fed, R Crim. P.: The defendant understands that the

 Govemment has the right, in a prosecution for perjury or false statement, to use against the defendant any

 statement that the defendant gives under oath during the guilty plea colloquy. The defendant also

 understands that the defendant has the right: (A) to plead not guilty, or having already so pleaded, the right

 to persist in that plea; (B) to ajury trial; (C) to be represented by counsel--and ifnecessary have the court

 appoint counsel--at trial and at every other stage ofthe proceedings, including appeal; and (D) to confiont

 and cross-examine adverse witnesses, to be protected from compelled self-incrimination, to testify and

 present evidence, and to compel the attendance of witnesses. The defendant also understands that the

  Constitution guarantees the right to be considered for release until trial; and iffound guilty ofthe charge(s),

 the right to appeal the conviction on such charge(s) to a higher court. The defendant understands that if

 the Court accepts this plea of guilty, the defendant waives all ofthese rights.




                                      Part 3: Sentence of Imprisonment

         8.      Sentencing Recommendation Pursuant to Federal Rule of Criminal Procedure

  ff(c)(f)(B): The parties have not agreed upon a specific sentence. The parties reserve the right to present

  evidence and arguments concerning what they believe to be the appropriate sentence in this matter.

          9.      Supervised Release: Both parties reserve the right to present evidence and arguments

  concerning whether the Court should impose a term of supervised release to follow any term of

  imprisonment in this case, the duration ofany term ofsupervised release, and the terms and conditions of

 the release.

          10. Conditions of Supervised Release: The parties understand and agree that the Court will
 determine which standard and special conditions of supervised release to apply in this case. The parties

 resen'e the right to present evidence and arguments conceming these conditions.




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                                     4                               Forfeitu
         ll.     Mandatory Special Assessment: The defendant will pay a rotal ofg200 on the date of

 sentencing or as ordered by the Court to the Clerk, United States District Court, which
                                                                                            amount represents

 the mandatory special assessment fee imposed pursuant to Ig U.S.C.
                                                                         $ 3013.

         12. Obligation to Pay Financial Component of Sentence: If the defendant is unable to pay
 any financial component ofthe defendant's sentence on the date ofsentencing, then the defendant
                                                                                                        agrees

 that the payment of the financial component should be a condition of supervised release
                                                                                                as well as an

 ordered payment through the Inmate Financial Responsibility Program ofthe U.S. Bureau
                                                                                              ofprisons. The
 defendant has a continuing obligation to pay the financial component of the sentence. The
                                                                                                    defendant

 further agrees that as of the date of filing this Plea Agreement the defendant will provide
                                                                                                 all requested
 financial information, including privacy waivers, consents, and releases requested by the Govemment
                                                                                                            to
 access records to verify the defendant's financial disclosures, to the Government
                                                                                     for use in the collection

 of any fines, restitution, and money judgments imposed by the Court and authorizes the Govemment to

 obtain credit reports relating to the defendant for use in the collection of any fines and restitution,
                                                                                                           and

 money judgments imposed by the Court. The defendant also authorizes the Government
                                                                                               to inspect and
 copy all financial documents and information held by the United States Probation Office.
                                                                                              Ifthe defendant
 is ever incarcerated in connection with this case, the defendant will participate in the
                                                                                            Bureau of prisons

 Inmate Financial Responsibility Program, regardless ofwhetherthe Court
                                                                            specifically directs participation

 or imposes a schedule ofpayments.




                                  Part 5:F       al Basis   r Guiltv Plea
        13' The parties stipulate and agree that the following facts establish a factual basis tbr the
defendant's pleas of guirty to the offenses set forth in paragraph
                                                                     one, above, and that the Govemment



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  would be able to establish the following facs beyond a reasonable doubt in the event this cause was to

  proceed to trial. The following information is only a summary of t}re Government's evidence. This Plea

  Agreement is not intended to foreclose the presentation ofand the Govemment reserves the right to present

  additional evidence at the time of sentencing.

                 a.      Investigation into the conspiracy charged at Count One of the Indictment

  commenced in early 2016, culminating in the court authorized intercept of numerous phones, including

  two cell phones used by Jose ZAMUDIO (hereinafter, Target Phones 6 and l0). Investigation revealed

  that Jose ZAMUDIO dishibuted numerous poturds of methamphetamine and kilograms of cocaine to

  individuals in Indianapolis, including to individuals such as Jeremy PERDUE, Jeffrey RUSH. and Adrian

  BENNETT. During the course of the charged conspiracy, Christian MORALES was intercepted on a

  number ofoccasions over Target Phones 6 and i0 coordinating with Jose ZAMUDIO to dishibute those

  controlled substances. Intercepts over ZAMUDIO's phone in the course of this investigation have

  demonstrated that when ZAMUDIO was unavailable, MORALES handled the drug trafficking activity.

  For example, on October 12,2016, Jose ZAMUDIO was ill, and his girlfriend Maria GONZALEZ was

  answering calls on Target Phone 6 on his behalf. In a call that occurred at approximately I 1:37 a.m. on

  that date, an unknown male, who was located in Mexico and was a source of supply for ZAMUDIO

  (hereinafter, the UM), attempted to call Jose ZAMUDIO. When GONZALEZ answered, she told the UM

  that she would put "Chdstian (MORALES)" on the phone, as he is in charge ofthings right now until Jose

  (ZAMUDIO) "recovers." MORALES then got on the phone, and when the UM asked who would be

  going ro chicago, MORALES responded it would be him. The purpose of the trip to chicago that was

  then being discussed was to pick up contolled substances from a tnrck that was arriving in Chicago. There

  had been previous conversations between the UM and Jose ZAMUDIO abour this truck, whose driver did

  not want to stop directly in Indianapolis.




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                 b.     At approximately 7:50 p.m. on October 29, 2016, Jose ZAMUDTO sent MORALES

  the following intercepted text message: "cousin, ifyou can, call the btack guy and
                                                                                       tell him thar you will
  call him when the work is ready. Thank you. I'm going to go to sleep, I feel really sick.,, In this
                                                                                                         text
  message, ZAMUDIo was asking MoRALES to call Adrian BENNETT, and let BENNETT
                                                                                               know that he

  would be receiving a call when the controlled substances (the '\rork") was available for him to receive.

  Not receiving a reply to this message, ZAMUDIO then called MORAIES, but a female answered. telling

  Jose ZAMUDIo that "christian (MORALES)" was driving, and therefore couldn't talk. In this
                                                                                                        call,

  ZAMUDIo relayed again that he wanted MoRALES to call, 'the black guy (BENNETT),- and te him

  @ENNEfi) that he'll be receiving a cal[ when..the work (controlled substances) is ready.,,
                c.      From on or about November 24, 2015 to on or about November 17, 2016,

  ZAMUDIO, GONZN-EZ,MORALES and others also conspired to launder drug proceeds. In particular,

  they conspired to knowingly conduct financial transactions with drug proceeds designed to conceal the

  nature, source, location, ownership or control of the proceeds in violation of lg uSC 1956(a)(l
                                                                                                     )(B)(i).
  zAMIjDIo, GARCIA, MORALES and others utilized Intecambio Express, MoneyGram and westem

  Union to wire drug proceeds from Indiana to Mexico and Califomia. The u,ires were sent to numerous

 nominee names provided by the drug trafficking organization in Mexico. ZAMUDIO, GONZALEZ, and

 MORALES sent wires using their own names, variations of their own names, fake names and nominee

 names. ZAMUDIO, GONZATEZ and others jointly wired no less than s15g,gl3 in drug proceeds to

 Mexico and california from November 24, 2015 through November I6, 2016. ZAMUDIO,
                                                                                             GONZALEZ,
 MoRALES and others deposited, or caused to be deposited, drug proceeds into bank accounts
                                                                                                          in
 Indianapolis, Indiana that were quickly followed by withdrawals from
                                                                           accounts based in Arizona or

 california. CoNZALEZ's intent in conducting these financial transactions (which
                                                                                    transactions involved




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 drug proceeds), was to conceal or disguise the nature, localion, source, ownership or control of the

 proceeds ofthe drug trafficking activity.

                 d.     On November 16,2016, Christian MORALES was in a vehicle driving to northern

 Indiana when he was stopped by law enforcement. MOI{AIES' vehicle contained $40,000 in drug

 proceeds from the charged conspiracy, which were owned by ZAMUDIo, and were being knowingly

 transported by MORALES to an individual in northern Indiana, for ultimate transport by the source of

 controlled substances back to the southwest border between the United States and Mexico. MORALES

 also possessed a firearm in the vehicle on this occasion that he was transporting the drug proceeds.




                                        Part 6: Oth      Conditions

         14. Background Information: The defendant acknowledges and understands that no
 limitation shall be placed upon the Court's consideration of information conceming the background,

 character, and conduct of the defendant for the purpose of imposing an appropriate sentence. The

 defendant acknowledges and understands that the Govemment is not prohibited from providing

 information conceming background, character, and conduct of the defendant for the purpose of

 recommending or advocating an appropriate guideline calculation and sentence.

         15. Good Behavior Requirement: The defendant agrees to fully comply with all conditions
 ofrelease imposed by the Court during all stages of this case. Ifthe defendant fails to fully comply with

 such conditions, then the Govemment may withdraw from this Agreement.

        16. Compliance with Federal and State Laws: The defendant understands that the
 obligations ofthe Govemment in this Plea Agreement are expressly contingent upon the defendant abiding

 by federal and state laws.




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                                  Pzrt 7: Sentencins G uideline Stin ations

         17. Guideline Computations: Pursuant to Section 681.4 ofthe Sentencing Guidelines, the
 parties agree to the Stipulations below. The parties understand and agree that
                                                                                        these Stipulations are

 binding on the parties but are only a recommendation to the Court and that the Court will
                                                                                                 determine the

 advisory sentencing guidelines applicable in this case. The parties agree that no stipulation regarding
                                                                                                             any

 factors in chapter 4, criminal History category, of the Sentencing Guidelines has been made, and
                                                                                                             that

 such determination will be made by the Court. The 2016 version ofthe Sentencing Guidelines has
                                                                                                            been

 used by the parties to make the stipulations set forth below.

                 a-       Base offense level: 34 (more than five kilograms ofa mixtue or substance creating

 a detectable amount of methamphetamine, USSG Section 2Dl.l);


                 b.       Increase of two revels, based upon the possession of a firearm
                                                                                              [uSSG section
 2Dr.1(b)(1)l;

                 c.       Increase ofrwo levels [Section 25l.l(b)(1)@)];

                 d.       Decrease of three levels for acceptance of responsibility. To date, the defendant

 has demonstrated a recognition and affirmative acceptance of personal responsibility for the defendant's

 criminal conduct- Based upon the defendant's willingness to accept a Plea Agreement and enter a plea of

 guilty to the criminal conduct noted in this agreement, the Govemment agrees that the defendant should

 receive a three levelreduction providedthe defendant satisfies the criteria set forth in Guideline
                                                                                                      $ 3El.l (a)

 up to and including the time of sentencing. The defendant timely notified the Government of defendant's

 intention to enter a plea of guilty, thereby permitting the Government and the Court to
                                                                                                allocate their

 resources efliciently.

                 e.       The parties agree trat a sentence at the low end of the above set-forth advisory

 guidelines is the appropriate sentence, and one that achieves the
                                                                     sentencing objectives of l g U.S.C. 3553.



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                                     Part 8: Waiver of Risht to ADDeal

         18. Direct Appeal: The defendant understands that the defendant has a statutory right to
 appeal the conviction and sentence imposed and the manner in which the sentence was determined.

 Acknowledging this right, and in exchange for the concessions made by the Govemment in this Plea

 Agreement, the defendant expressly waives the defendant's right to appeal the conviction and sentence

 imposed in this case on any ground, including the right to appeal conferred by 18 U.S.C. g 3742. This

 waiver of appeal specifically includes all provisions ofthe guilty plea and sentence imposed. including the

 length and conditions supervised release and the amount ofany fine.

         19. Later Legal Challenges: Additionally, the defendant expressly agrees not to contest, or
 seek to modi!, the defendant's conviction cr sentence or the manner in which either was determined in

 any later legal proceeding, including but not limited to, an action brought under 18 U.S.C. $ 3582 or 28

 U.S.C. $ 2255. As concems this Section 3582 waiver, should the United States Sentencing Commission

 and./or Congress in the futue amend the Sentencing Guidelines to lower the guideline range that penains

 to the defendant's offense(s) and explicitly make such an amendment retroactive, the Govemment agrees

 that it will not argue that this waiver bars the defendant from filing a motion with the district court pursuant

 to l8 U.S.C. $ 3582(c)(2) based on tlat retroaciive Guidelines amendment. However, if the defendant

 files such a motion, the Govemment may oppose the motion on any other grounds. Furthermore, should

 the defendant seek to appeal an adverse ruling ofthe district court on such a motion, the Govemment may

 claim that this waiver bars such an appeal. As concerns the Section 2255 waiver, the waiver does not

 prevent claims, either on direct or collateral review, that the dofendant received ineffective assistance of

 counsel.

         20. No Appeal ofSupervised Release Term and Conditions: The parties' reservation ofthe
 rights to present evidence and arguments in this Court conceming the length and conditions of sutrrrvised



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  release is not intended to be inconsistent with the Waiver of Appeal
                                                                          specified above, which includes a

 waiver ofthe right to appeal to the lenglh and conditions of the period ofsupervised
                                                                                           rerease.




                                 Part 9: Presen tence Investisation Reoort

         2l'     The defendant lequests and consents to the commencement ofa presentence investigation

 by probation officers of the United States District Court for purposes of preparing a presentence

 Investigation Report at this time and prior to the entry ofa formal plea of guilty.

         22, The defendant filrther requests and consents to the review ofthe defendant,s presentence
 Investigation Report by a Judge, defendant's counsel, the defendant, and the Govemment at any
                                                                                                          time,

 including prior to entry ofa formal plea of guilty-




                                   Part 10: Imm ieration Conseeuences

        23. The defendant recognizes that pleading guilty may have consequences with respect to the
 defendant's immigration status if the defendant is not a citizen ofthe United States. Under federal law,
                                                                                                              a

 broad range of crimes are removable offenses, including the offenses to which the defendant is pleading

 guilty. The defendant also recognizes that removal will not occur until service ofany sentence imposed

 in this case has been completed. Removal and other immigration consequences are the subject
                                                                                                           of a
 separate proceeding, however, and the defendant understands that no one, including
                                                                                               the defendant,s
 attomey or the Court, can predict to a certainty the effect ofthe conviction in
                                                                                   this case on the defendant,s

 immigration status- The defendant nevertheless affirms that the defendant
                                                                             wants to plead guilty regardless

of any immigration consequences that this plea may entail, even if the consequence
                                                                                            is the defendant,s
removal fiom the United States.




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                                    Part 1l: Statement of the Defendant

        24. By signing this document, the defendant acknowledges the following:
            a. I have received a copy ofthe Indictment and have read and discussed it with my
 attomey. I believe and feel that I understand every accusation made against me in this case. I wish the

 Courx to omit and consider as waived by me all readings of the Indictrnent in open Court, and all further

 proceedings including my arraignment.

                b.      I have told my attorney the facts and surrounding circumstances as known to me

 conceming the matters mentioned in the Indictment, and believe and feel that my attorney is fully informed

 as to all such matters. My attorney has since informed, counseled and advised ms as to the nature and

 cause ofevery accusation against me and as to any possible defenses I might have in this case.

                c.      I have read the entire Plea Agreement and discussed it with my attomey.

                d.      I understand all the terms ofthe Plea Agreement and those terms correctly reflect

 the results ofplea negotiations.

                e.      Except for the provisions of the Plea Agreemen! no officer or agent ofany branch

 of Govemment (federal, state or local), nor any other person, has made any promise or suggestion of any

 kind to me, or within my knowledge to anyone else, that I would receive a lighter sentence, or probation,

 or any other form of leniency, if I would plead "Guilty." I respectfully request that the Court consider in

 mitigation of punishment at the time of sentencing the fact that by voluntarily pleading "Guilty" I have

 saved the Govemment and the Court the expense and inconvenience of a trial. I understand that before it

 imposes sentence, the Court will address me personally and ask me if I wish to make a statement on my

 behalfand to present any information in mitigation ofpunishment.




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                 f'     I am fully satisfied with my attomey's representation during all phases ofthis case.

 My attomey has done all that anyone could do to counsel and assist me and that I fully understand
                                                                                                               the

 proceedings in this case against me.

                g.      I make no craim of innocence, and I am freely and voluntarily preading guilty in

 this case.

                h.      I am pleading guilty as set forth in this Plea Agreement because I am guilty ofthe

 crime(s) to which I am entering my plea.

                i.      i understand that ifconvicted, a defendant who is not a United States Citizen may

 be removed from the United States, denied citizenship, and denied admission to the United States in the

 future.

                j.     My attomey has informed me, and I understand, that I have the right to appeal any

 conviction and sentence that I receive, unless I have waived my right to appeal as part of this plea

 Agreement. If I have not waived my right to appeal, I understand that I must file a Notice of Appeal

 within fourteen (14) days of the entry of the judgment in this case; I further understand that the Clerk of

 the Court will prepare and file a Notice ofAppeal on my behalfifl ask that to be done. I also understand

 that the United StatEs has the right to appeal any senknce that I receive under this plea Agreement.

                k.     My attomey has informed me, and I understand, that if I provide or cause to be

 provided materially false information to ajudge, magistrate-judge, or probation
                                                                                    office, then Section 3C1.1

 ofthe Sentencing Guidelines allows the court to impose a two-level increase in the
                                                                                         offense level.

                l'     Ifthis cause is currently set for trial on the Court's calendar, I request that this
                                                                                                              date

be continued to permit the court to consider this proposed guilty plea
                                                                            Agreement. I further understand
that any delay resurting from the court's consideration
                                                          of this proposed guilty plea Agreement, up to and
including the date on which the court either accepts
                                                           or rejects my guilty prea, wi, be excruded in



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 computing the time wittrin which triat of this cause must commence, pursuant to 18 U.S.C. $

 3 r6l(hx lxG).




                                      Part 12: Certifrcate of Counsel

          25. By signing this document, the defendant's attomey and counselor certifies as follows:
                  a.    I have read and fully explained to the defendant all the accusations against the

 Defendant which are set forth in the Indictrnent in this casel

                  b.    To the best ofmy knowledge and belief each statement set forth in the foregoing

 petition to enter plea ofguilty and Plea Agreement is in all respects accurate and true;

                  c.    The plea of "Guilty" as offered by the defendant in the foregoing petition to enter

 plea of guilty and Plea Agreement accords with my understanding of the facts as related to me by the

 defendant and is consistent with my advice to the defendant;

                  d.    In my opinion, the defendant's waiver of all reading of the Indictment in open

 Court, and in all further proceedings, including arraignment as provided in Rule 10, Fed. R. Crim. P., is

 voluntarily and understandingly made; and I recommend to the Court that the waiver be accepted by the

 Court;

                  e.    In my opinion, the plea of "Guilty" as offered by the defendant in the foregoing

 petition to enter plea of guilty and PIea Agrcement is voluntarily and understandingly made and I

 recommend to the Court that the plea of "Guilty" be now accepted and entered on behalf ofthe defendant

 as requested in the foregoing petition to enter plea of guilty and plea A$eement.



                                          Part 13: Final ProvNron
          26, Complete Agreement: The defendant acknowledges that no threats, promises, or
 reprgsentations have been made, nor agreements reached, other than those set forth in this
                                                                                              document. to


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  induce the defendant to pread guirty. This document is the complete
                                                                            and onry prea Agreement between
  the defendant and the united states Attomey for the Southem Disrict
                                                                             of Indiana and is binding only on
  the parties to the Plea Agreement, supersedes all prior understandings,
                                                                            if any, whether written or oral, and
  cannot be modified except in *riting, signed by all parties and filed with the
                                                                                      Courg or on the record in
  open court-




                                                          Respectfu lly submitted,

                                                          JOSH J. MINKLER
                                                          United States Attomey


 ilr/a,a
  derE'                                                Michelle P. Brady
                                                       Assistan t United States Aftorney


 1t,Iu,a
  dard                                                      D.
                                                       Dep.Chief, Drug and           lent Crime Unit


  3-7- tS
 DATE                                                     stian Morales
                                                      Defendant


  3 -1- tg
                                                              C
 DATE                                                 Charles C. Hayes
                                                      Counsel for Defendant




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